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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION
OPIATE LITIGATION                                      MDL No. 2804

This document relates to:                              Case No. 17-md-2804
Cleveland Bakers and Teamsters Health and
Welfare Fund v. Purdue Pharma L.P.,                    Hon. Dan Aaron Polster
No. 18-op-45432


                       MANUFACTURER DEFENDANTS’ JOINT
                   MOTION TO DISMISS THE AMENDED COMPLAINT

       The manufacturer defendants1 respectfully move under Federal Rule of Civil Procedure

12(b)(6) to dismiss all claims asserted against them in the amended complaint for failure to state a

claim upon which relief can be granted. A memorandum in support of this motion is attached.

The manufacturer defendants respectfully ask the Court to grant their motion in its entirety, dismiss

all claims against them with prejudice, and grant any other relief the Court deems just or proper.




1
         This motion incorporates the definition of “manufacturer defendants” set forth in Summit
MTD at 1 n.2 [Dkt. 499-1, PageID #7656], plus Par Pharmaceutical, Inc.; Par Pharmaceutical
Companies, Inc.; and SpecGx LLC. Defendant Noramco, Inc., a company referenced in the
amended complaint as a former affiliate of Johnson & Johnson, see 1AC ¶52, joins this motion to
the extent applicable. Noramco does not (and did not at all material times relevant hereto)
manufacture, package, brand, market, distribute, or sell the finished drug products at issue in this
litigation, and it reserves all rights and defenses specific to it. Also, although the arguments raised
here apply equally to Teva Pharmaceutical Industries Ltd., Allergan plc, and Mallinckrodt plc,
these parties do not join this motion for the reasons stated in Summit MTD at 1 n.2.
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Dated: July 23, 2018                    Respectfully submitted,

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